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                                IN THE UNITED STATES DIS
                                                         TRICT COURT
                                   FOR THE DISTRICT OF NEW
                                                            JERSEY

       GARY MARCHESE, ESTHER
       WEINSTEIN and JOAN HOWA
                                        RD
       Individually, and on Behalf of All
                                          Others
       Similarly Situated,
                                                                   lltIcZ•
                                                                                 (MAH)
                          Plaintiffs,
              vs.

      CABLEVISION SYSTEMS
      CORPORATION and CSC HOLD
                               INGS.
      LLC,

                         Defendants.


                                        1PROPOSE9t FiNAL JUDGMENT
             WHEREAS, Plaintiffs Gary March
                                                   ese, Esther Weinstein. and Joan How
                                                                                          ard, individually
     and as representatives of others sim
                                          ilarly situated (Plaintiffs”). having
                                                                                appeared through their
    counsel. and Defendants Cablevision
                                             Systems Corporation and CSC Holdin
                                                                                     gs, LLC (collectively
    “Cablevision” or Defendants”) (tog
                                           ether, the “Parties”), having appeare
                                                                                 d through their counsel;
    and

             WHEREAS, the Parties having stip
                                                  ulated to entry of this Final Judgment;
                                                                                            and
             WHEREAS, this Court having con
                                                 sidered Plaintiffs’ motion for final app
                                                                                           roval of the
    Settlement Agreement dated
                                             ,   2015, along with all of the pleadings
                                                                                          and the evidence
    in this matter; having held a hearing
                                          on final approval (the ‘Final Fairne
                                                                                 ss Hearing”) on
    2016; and having concluded that the
                                          Fifth Amended Class Action Complai
                                                                                   nt in this case confers
   upon this Court jurisdiction to adju
                                        dicate the issues raised and to provid
                                                                                e relief therefor;
            IT IS HEREBY ORDERED, AD
                                                JUDGED AND DECREED that jud
                                                                                         gment be entered
   as follows:
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                    I.This Final Judgment incorporate
                                                       s herein and makes a part hereof
                                                                                         the Settlement
        Agreement and its exhibits and
                                       the Preliminary Approval Order
                                                                       and its exhibits. Unless
        otherise provided herein, the
                                      terms defined in the Settlement
                                                                      Agreement and Preliminary
        Approval Order shall have the
                                      same meanings for purposes of this
                                                                         Final Judgment.
                                                   JURISDICTION
                  2.
                  This Court has jurisdiction ove
                                                  r the subject matter of this action
                                                                                      pursuant to 28
       U.S.C. 1331, 1337, and 136
                                  7.
               3.      This Court has personal jurisdiction
                                                             over all the parties to this Action
                                                                                                  , including,
       but not limited to, all Settlement
                                          Class Members, for all matters
                                                                            relating to the Action and the
      Settlement, including, but not
                                       limited to, the administration. inte
                                                                            rpretation, effectuation and/or
      enforcement of the Settlement,
                                        the Settlement Agreement, and
                                                                         this Order.
                                          NOTICE OF SETTLEMENT
             4.       The record shows, and the Cou
                                                          rt finds, that the class Notice has
                                                                                               been given to the
      Settlement Class in the manner
                                          approved by the Court in its Prelim
                                                                                  inary Approval Order. The
     Court finds that such class Not
                                       ice constitutes: (i) the best notice
                                                                              practicable to the Settlement
     Class under the circumstances;
                                         (ii) notice that was reasonably calc
                                                                                 ulated, under the
     circumstances, to apprise the
                                     Settlement Class of the pendency
                                                                             of the Action and the terms of the
     Settlement Agreement, their righ
                                          t to exclude themselves from the
                                                                                Settlement or to object to any
    part of the Settlement, their righ
                                        t to appear at the Final Fairness
                                                                             Hearing (either on their own or
    through counsel hired at their
                                     own expense), and the binding
                                                                          effect of the orders and the Final
   Judgment in the Action, whether
                                          favorable or unfavorable, on all
                                                                              persons who do not exclude
   themselves from the Settlement
                                       Class; (iii) due, adequate, and suff
                                                                               icient notice to all persons
   entitled to receive notice: and
                                    (iv) notice that fully satisfies the
                                                                           requirements of the United Sta
                                                                                                            tes



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     Constitution (including the Due Process Clause). Federal Rule of Civil Procedure 23.
                                                                                          and any
     other applicable law.

             5.         Due and adequate notice of the proceedings having been given to the Settlement

     Class and a full opportunity having been offered to Settlement Class Members to partici
                                                                                             pate in
     the Final Fairness Hearing, it is hereby determined that all Settlement Class Members,
                                                                                            except
     those who have opted out pursuant to the opt-out procedure described in the Prelim
                                                                                        inary
     Approval Order, are bound by this Final Judgment and the Final Order.

                                       APPROVAL OF SETTLEMENT

            6.      The Court has reviewed the terms of the Settlement Agreement and all objections

     and comments thereto, and finds that the Settlement is fair, reasonable, and adequate under
                                                                                                 the
     circumstances of this case and is in the best interests of the Settlement Class. Accord
                                                                                             ingly, the
    Court hereby finally approves the Settlement Agreement.

            7.      In evaluating the proposed Settlement, the Court considered a variety of factors,

    see Girshv. Jepson, 521 F.2d 153, 157 (3d Cir. 1975), and makes the following findings:

                    a.        The named Plaintiffs are adequate representatives of the Settlement Class,

                              and treatment of this Action as a class action for settlement purposes. with

                             the Settlement Class as defined in the Settlement Agreement and the

                             Preliminary Approval Order, is appropriate, proper, and satisfies the

                             criteria set forth in Federal Rule of Civil Procedure 23(e);

                   b.        More than adequate discovery has been conducted in this case to afford

                             Plaintiffs’ Class Counsel an opportunity to determine the strengths and

                             weaknesses of the case and the reasonableness of the Settlement;




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                    c.      The terms of the Settlement provide substantial and direct benefits to the

                            Settlement Class, and are within a range that responsible and experienced

                            attorneys could accept considering all relevant risks and factors:

                    d.      The Action was highly complex, expensive, and time consuming, and the

                            future expense and likely duration of the litigation, and its uncertainty of

                            outcome. support approval of the class Settlement

                    e.      Class Counsel have substantial experience in antitrust class actions and

                            complex litigation and recommend approval of the settlement: and,

                    f.      The Settlement Agreement resulted from extensive. bonajIde, good faith

                           arm’s-length negotiations between Plaintiffs’ Class Counsel and

                            Defendants through their counsel, and was not the result of any collusion

                           between Plaintiffs’ Class Counsel and Defendants or their counsel.

            8.     The Court has considered all timely and proper objections to the Settlement, and

     denies and overrules them as without merit.

                                   DISCLAIMER OF ADMISSIONS

            9.     The provisions of this Final Judgment are entered as a result of the agreement and

    stipulation of the Parties. The Parties’ stipulation and this Final Judgment are not intended to be,

    and shall not be construed as, an admission or finding, express or implied, of any fault, liability.

    or wrongdoing by Defendants.

            10.    Neither the Settlement Agreement, nor any of its terms and provisions, nor any of

    the negotiations or proceedings connected with it, nor any of the documents or statements

    referred to therein, nor any of the documents or statements generated or received pursuant to the

    claims administration process, shall be offered by any person or received against any Defendant

    as evidence or construed or deemed as evidence of(i) any presumption, concession, or admission


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     by any Defendant of the truth of the facts alleged by the Plaintiffs or any Settlement Class

     N ember. or (ii) the validity of any claim that has been or could have been asserted in the Action

     or in any litigation or other judicial or administrative proceeding, or (iii) the deficiency of an

     defense that has been or could have been asserted in this Action or in any litigation or other

     judicial or administrative proceeding. or (iv) any liability, negligence, fault, or wrongdoing of

     any Defendant. Provided, however, that nothing herein shall prevent the Settlement Agreement

     (or any agreement or order relating thereto) from being used, offered, or received in evidence in

     any proceeding to approve, enforce, or otherwise effectuate the Settlement (or any agreement or

     order relating thereto). the Final Judgment. or the Release of claims.

                                             APPLICABILITY

            11.     This Order is the Final Judgment as defined in the Settlement Agreement.

            12.     The provisions of this Final Judgment are applicable to and binding upon

     Defendants and upon all members of the Settlement Class, their current or former agents,

    employees, predecessors, successors, heirs, and assigns, and dismiss in their entirety and with

    prejudice the claims of all members of the Settlement Class against Cablevision, as more fully

    set out in Section 11.1 of the Settlement Agreement, without costs to any party against any other

    party except as otherwise provided herein.

            13.    This Final Judgment is intended by the Parties and the Court to be resjudicata

    and to prohibit and preclude any prior, concurrent, or subsequent litigation, arbitration, or other

    proceeding, brought individually or in the name of, and/or otherwise on behalf of, the Plaintiffs

    or members of the Settlement Class, their current or former agents. employees, predecessors,

    successors, heirs, or assigns, that have been brought, could have been brought or hereafter could

    be brought, are currently pending or were pending, whether known or unknown, suspected or

    unsuspected, matured or unmatured, asserted or unasserted, under or pursuant to any legal


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     authority including but not limited to any statute, regulation, common law or equity. and arise

     out of. or relate to (a) conduct alleged in the Action or the claims or issues actually raised or

     which could have been raised in the Action from the beginning of time until the Effective Date,

     including, without limitation to, claims based, in whole or in part, on conduct, practices or

     policies regarding the purported conditioning of a subscription of. or access to. a Cablevision

     digital video service on a subscriber’s lease or provision of a Set-Top Box (i) as alleged in the

     Action or (ii) in a manner that is not materially different from the conduct, practices or policies

     alleged in the Action; or (b) conduct authorized by Section 8.1 of the Settlement Agreement,

     except for claims alleging a breach of Cablevision’s obligations under that Section 8.1

     (collectively, the “Released Claims”).

             14.    Plaintiffs and all members of the Settlement Class, individually and on behalf of

     their current or former agents, employees, predecessors. successors. heirs, or assigns, are deemed

     to have conclusively settled and released all claims against Cablevision as described above and

     as more fully set out in Sections 11.1-11.2 of the Settlement Agreement.

            15.     Plaintiffs and all members of the Settlement Class, individually and on behalf of

     their current or former agents, employees, predecessors, successors, heirs, or assigns, are deemed

    to have covenanted not to sue, institute, or instigate any legal, equitable or administrative

     investigation or proceedings against Cablevision for any Released Claims, as more fully set out

    in Section 11 .5 of the Settlement Agreement.

            16.    Plaintiffs and all members of the Settlement Class, individually and on behalf of

    their current or former agents, employees, predecessors, successors, heirs, or assigns, are deemed

    to have expressly waived all rights under any applicable or non-applicable statute or other

    provision limiting the release of claims that are not known or suspected to exist in such person’s

    favor at the time of executing the release and which if known or suspected would have materially


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     affected such person’s decision whether or not to enter into such release, as more fully set out in

     Section 11 .3 of the Settlement Agreement.

             17.     Each member of the Settlement Class is barred and permanently enjoined from

     instituting any federal, state, territorial, or private regulatory, administrative, legal, or other

     proceeding. investigation, inquiry, examination, or review related to the Released Claims. as

     more fully set out in Section 11.10 of the Settlement Agreement. except that any Party to the

     Settlement Agreement is not precluded from filing an action to enforce his, her, or its rights

     under the Agreement, as more fully set out in Section 11 .9 of the Settlement Agreement.

                             ATTORNEYS’ FEES AND INCENTIVE PAYMENTS

            18.     Except as expressly ordered herein, each of the Parties shall bear his, her, or its

     own fees and costs.

            19.     C?ass Counsel’s Fees. Class Counsel have moved for an award of attorneys’ fees

    and reimbursement of expenses. Pursuant to Federal Rules of Civil Procedure 23(h)(3) and

    54(d)(2), and pursuant to the factors for assessing the reasonableness of a class action fee request

    as set forth in Gunter v. Ridgewood Energy Corp., 223 F.3d 190, 195 n.l (3d Cir. 2000) and In re

    Prudential Ins. Co. ofAmerica Sales Practice Lilig., 148 F.3d 283, 340 (3d Cir. 1998), and for

    the reasons set forth in Plaintiffs’ Motion for Attorneys’ Fees and Costs and on the record, Class

    Counsel are awarded attorneys’ fees, costs, and expenses in the amount of                         .    The

    Court finds this award to be fair and reasonable. The awarded fees and expenses shall be paid to

    Class Counsel in accordance with the terms of the Settlement Agreement. Class Lead Counsel

    shall allocate the fees and expenses amount among the Class Counsel in its discretion.

            20.     Payments to Class Representatives: An award of_______________ is authorized

    for each of the three named Plaintiffs in this Action. The Court finds the award is fair and

    reasonable.


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                                         RETENTION OF JURISDICTION

             21.     This Court expressly retains exclusive and continuing jurisdiction over the

     Settlement and the Settlement Agreement only for the purpose of enabling any party to this Final

     Judgment to apply to the Court at any time for such further orders and directions as may be

     necessary and appropriate for the carrying out of this Final Judgment, including all matters

     relating to the administration, consummation, validity, enforcement. and interpretation of the

     Settlement Agreement. in all other respects, this case is dismissed with prejudice.

             22.     Without affecting the finality of this Final Judgment or the Final Order,

     Defendants and each Settlement Class Member hereby irrevocably submit to the exclusive

     jurisdiction of this Court for any suit. action, proceeding, or dispute arising out of or relating to

     the Settlement Agreement or the applicability of the Settlement Agreement.

            23.      Without further order of the Court, the Parties may agree to reasonably necessary

     extensions of time to carry out any of the provisions of the Settlement Agreement. Likewise, the

     Parties may, without further order of the Court, agree to and adopt such amendments to the

     Settlement Agreement (including exhibits) as are consistent with this Final Judgment and the

    accompanying Final Order and that do not limit the rights of the Settlement Class Members

    under the Settlement Agreement.

            24.     The Clerk of the Court is ordered to enter the Final Judgment forthwith.

            25.     In the event that this Final Judgment is not otherwise final and appealable, the

    Court finds and directs that there is no just reason for delaying enforcement or appeal and

    judgment should be entered.



    SO ORDERED, in chambers in Newark, New Jersey, this                day of                     ,2016.




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                                      BY 1IE COURT:




                                      Hon. Madeline C. Arleo, U.S. District Judge
